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 7
 8                               IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,                          2:12-CR-00198-MCE
12                  Plaintiff,
                                                        PRELIMINARY ORDER OF
13          v.                                          FORFEITURE
14   ANTHONY GIARRUSSO,
15                  Defendant.
16
17          Based upon the plea agreement entered into between plaintiff United States of America and

18 defendant Anthony Giarrusso it is hereby ORDERED, ADJUDGED AND DECREED as follows:

19          1.      Pursuant to 21 U.S.C. § 853(a), defendant Anthony Giarrusso’s interest in the

20 following property shall be condemned and forfeited to the United States of America, to be disposed
21 of according to law:
22                  a.      2008 Ford F-350 Crew Cab Truck, VIN: 1FTWW31R88EA64972, California
                            License Number: 8N24680.
23
24          2.      The above-listed property constitutes property used, or intended to be used, in any

25 manner or part, to commit, or to facilitate the commission of a violation of 21 U.S.C. §§ 846 and
26 841(a)(1).
27          3.      Pursuant to Rule 32.2(b), the Attorney General (or a designee) shall be authorized to

28 seize the above-listed property. The aforementioned property shall be seized and held by the United
                                                    1
29                                                                           Preliminary Order of Forfeiture
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 1 States, in its secure custody and control.
 2            4.    a.      Pursuant to 21 U.S.C. § 853(n) and Local Rule 171, the United States shall

 3 publish notice of the order of forfeiture. Notice of this Order and notice of the Attorney General’s
 4 (or a designee’s) intent to dispose of the property in such manner as the Attorney General may direct
 5 shall be posted for at least thirty (30) consecutive days on the official internet government forfeiture
 6 site www.forfeiture.gov. The United States may also, to the extent practicable, provide direct
 7 written notice to any person known to have alleged an interest in the property that is the subject of
 8 the order of forfeiture as a substitute for published notice as to those persons so notified.

 9                  b.      This notice shall state that any person, other than the defendant, asserting a

10 legal interest in the above-listed property, must file a petition with the Court within sixty (60) days
11 from the first day of publication of the Notice of Forfeiture posted on the official government
12 forfeiture site, or within thirty (30) days from the receipt of direct written notice, whichever is
13 earlier.
14            5.    If a petition is timely filed, upon adjudication of all third-party interests, if any, this

15 Court will enter a Final Order of Forfeiture pursuant to 21 U.S.C. § 853(a), in which all interests will
16 be addressed.
17            IT IS SO ORDERED.

18 Dated: February 10, 2016

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29                                                                                   Preliminary Order of Forfeiture
